Case 04-03774 . Doc 42-10 Filed 02/21/06 Entered 02/21/06 16:44:14 Desc
Affidavit Abruzzo affidavit Page 1 of 4

Affidavit of Peter Abruzzo

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, Feb 20 06 03:12p Affidavit Abruzzo affidavit Page 2 of 4 p.2
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

FASTERN DIVISION
In Re: )
: )
VICKI E. FSRALEW } Case No. 04-B-24393
} Chapter 7
Debtor }
ROLLIN J, SOSKIN, BUGENE }
TERRY, NICOLE TERRY and }
TERRY’S COMPANY, INC. )
Plaintiffs; - )
)
¥s ) Adversary Proceeding
) 1 NO.04 A 3774
VICK] 5. ESRALEW }
Defendant, j Judge Goldgar
Affidavit of Peter Abruzzo

Peter Abruvya, after first being duly sworn on oath, deposes and statcs:

1. lhave personal knowledge ofthe statements made in this affidavit and if catled upon
to testify could so testify in vpen court.

2. During and after October, 1998 Thad personal conversations with Vicki Feratew and
her husband Robert Aren, conceming the possible investment by me of both money and time in their
conipany, Kids Count Entertainmnent, LLC.

3, During November, 1998 became aware that they were also negotiating with Eugene
Tetry, Nicole Terry, and Rollin Soskin, but was asked by Vicki Earalew to keep our conversations
confidential while she dealt with the Terrys, and Soskin. Our conversations continued thrangh
Novernberand December, even though J have subsequently becn made aware that Esralew and Aren

~ signed an agreement with Soskin and the Terrys in Navember, 1998.
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ffidavit Abruzzo affidavit Page p.
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4, During all of my conversations with Esralew and Aten, they were asking that f use
my personal management skills and experience to mun the company, leaving Esralew fice to create
new products. | was not aware at that time thal Esralew and Aren had aprecd to equal management
contro! with Seskin and the Terrys,

5. it was not until sometime in January, 1999 that | was introduced to Soskin and the
Terrys for discussions concerning my possible involvement in the company.

6. Although negotiations between Esralew and myself did noi result jn-an agreement
with Soskin and the Tenys, Soskin and the Texrys continued to welcome my involvement at
Esralow's request,

7. In addition to my negotiations with Soskin and the Terrya, Reralew continued to
request that I introduce her to others who might be interested in investing in the company, ineluding
Jin Robinson of Morgan Creek Productions. Throughout the negotiations, Esralew promised that
if would introduce her to someone who would invest in the cympany, she would sell me part of her
own shares in the company. To my knowledge, this was not prohibited by her agreement with
Soskin and the Terrys.

8. In of Rbout April, 1999 T did in fact aurange a meeting for Esralew with Mr. Robingon.
Upon return from that theeting, Esralew advised that Robinson wag very interested and prepare to

invest in the company, but that he was only interested in her as the “talent” and Fistalew then
indicated thet she would not honor her agreement to sell me part of her interest in the company,

despite the apparent willingueys of my referral to invest,
. 5/85
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Feb 20 O06 03:15p Affidavit Abruzzo affidavit Page 4 of 4 pei

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Further affiant sayth naught:

Executed this_/F of Rebruary, 2006

ctor Abruzzo vd GOO”

_ Subscribed and Swom to before me
this day of February, 2006.

Mh bere”

7 Notary Public

